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         11.     Nothing in this Agreement shall be construed as an admission that Defendants are
 currently, or may have previously been, in violation of Section 8 of the NVRA or any other
 federal or state laws related to voter registration or list-maintenance; or as an admission that
 Plaintiffs' claims were invalid or were subject to dismissal for any reason.

         12.    This Agreement contains the sole and entire agreement and understanding of the
 Parties with respect to the entire subject matter hereof, and any and all prior discussions,
 negotiations, commitments, or understandings related thereto, if any," are hereby merged herein.
 No supplementation, modification, waiver, or termination of this Agreement shall be binding
 unless executed in writing by the Party to be bound thereby.

        13.      This Agreement and all rights and obligations hereunder, including matters of
 construction, validity, and performance, shall be governed by and construed in accordance with
 the laws of the State of Colorado.

         14.    The Parties each represent that they have full authority to execute this Agreement
 on behalf of the Party designated. Each Party has reviewed and understands the legal
 consequences of this Agreement and executes this Agreement freely, without coercion, or under
 duress.

        15.   This Agreement may be executed in one or more counterparts, each of which shall
 be deemed an original, all of which shall constitute one document.

         This Agreement is made and is effective as of the last date written below. -


 FOR PLAINTIFFS:

 By:~~~~~~~~~~~--~~~~~
       Designated Signatory for Judicial Watch, Inc.

 Printed Name:   ~~~~~~~~~~~~~-




 Date=~~~~~~~~~~~~~~~~


 By:                                     ' fhUh 4-1\J
          igna ed ignatory for American Constitution Party of Colorado

 Printed Name:   ,J:k,
                   4Ll1-6          A-J)&rV
 Date:     3 lc11Iif3I




 By:~~~~~~~~~~~--~~~~~
       Designated Signatory for Libertarian Party of Colorado




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  By: __________________________
      Robert D. Popper, Counsel for Plaintiffs
      For Elizabeth Miller
  Date:



  By: __________________________
      Robert D. Popper, Counsel for Plaintiffs
      For Lori Hovey
  Date:



  By: __________________________
      Robert D. Popper, Counsel for Plaintiffs
      For Mark Sutfin
  Date:



  FOR DEFENDANTS:

  By: __________________________
      Christopher P. Beall, Colorado Deputy Secretary of State
  Date: March 29, 2023




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                      U.S. ELECTION ASSISTANCE COMMISSION (EAC)
                   2022 Election Administration and Voting Survey (EAVS)

  The ongoing process of improving the United States’ election systems relies in part on having
  accurate data about the way Americans cast their ballots. In 2002, Congress chartered the U.S.
  Election Assistance Commission (EAC) to collect information on the state of American elections and
  to make that information widely available to policymakers, advocates, scholars, journalists, and the
  general public. Since 2004, the EAC has sponsored a biennial survey as its primary tool for fulfilling
  its information collection mission. We are pleased to present the 2022 Election Administration and
  Voting Survey (EAVS), and we ask for your help in making it the most complete and accurate survey
  in its history.
  The questions in this survey ask for information about ballots cast, voter registration, overseas and
  military voting, mail voting, Election Day activities, voting technology, and other important issues.

   The section concerning the Uniformed and Overseas Citizens Absentee Voting Act (UOCAVA)
   serves as the EAC’s standardized format for state reporting of UOCAVA voting information as
   required by 52 U.S.C. §20302. States that complete and timely submit this section to the EAC will
   fulfill their UOCAVA reporting requirement under 52 U.S.C. §20302(c).
   Additionally, the EAC is mandated by the National Voter Registration Act (NVRA) to collect
   information from states concerning the impact of that statute on the administration of federal
   elections. With this information, the EAC is required to make a report to Congress and provide
   recommendations for the improvement of federal and state procedures, forms, and other NVRA
   matters. States that respond in a timely manner to all questions in this survey concerning voter
   registration-related matters will meet their NVRA reporting requirements under 52 U.S.C. §20508
   and EAC regulations.

  The EAC recognizes the burden that asking for these data places on state and local election officials,
  and we have worked to minimize that burden as much as possible. In advance, we thank you for your
  cooperation and look forward to answering any questions you might have.
  Information supplied by:
   Name                                                              Title
   Office/Agency Name
   Email Address




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  Instructions for Completing the 2022 Election Administration and Voting Survey
  1. This survey collects information on election administration in local election offices that are
     responsible for the administration of the November 2022 general election. All data should be
     reported at the local jurisdiction level. However, the state- or territorial-level election office may
     fill out any or all of the information on behalf of the local election offices under its jurisdiction.
  2. Read a section in its entirety before answering any of the questions in that section, paying close
     attention to terminology definitions and instructions about what data should be included for each
     question.
  3. Do not leave items blank—always provide an answer to the question. If needed, use responses,
     such as “Data not available” or “Does not apply” (if you do not have the necessary data to
     provide an answer to a question), or use the “Other” categories for a question (if you have
     additional data to report that is not covered by one of the existing categories in a question).
  4. Please attempt to record data according to the categories as they are defined in the question. If
     your jurisdiction uses a different data classification scheme (for instance, your jurisdiction
     collects data in such a way that combines two or more categories listed in a question), then you
     can use the space for “Other” to provide numbers and details for these categories. If you report
     information in the “Other” field, please use the comment box to provide an explanation for the
     answer.
  5. Use comment boxes as needed to provide additional context and nuance to the data you report.
     This includes any explanations about the quality of the data you are providing. These comments
     will assist the EAC in analyzing and presenting your data accurately. All comments you provide
     will be made public when the survey data are released, and the information submitted in your
     comments may be replicated in reports and other research products released by the EAC.
     Because these comments will be public, they should be written so they are understandable to
     readers who are not familiar with your state’s election policy and practices. Comments should
     not include any sensitive information or personally identifiable information (PII), and any
     acronyms in your comments should be explained.




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                                   Section A: Voter Registration
  The goal of Section A is to understand the ways in which individuals registered to vote in each
  jurisdiction between 2020 and 2022 and the efforts made to remove individuals who should no
  longer be registered.
  This section of the EAVS asks for four types of data:
     1. How many individuals were registered to vote for the 2022 general election?
     2. How many voter registration forms were processed between the close of registration for the
        2020 general election and the close of registration for the 2022 general election?
     3. How many confirmation of registration notifications did your jurisdiction send to registered
        voters between the close of registration for the 2020 general election and the close of
        registration for the 2022 general election?
     4. How many registered voters were removed from the voter registration rolls between the close
        of registration for the 2020 general election and the close of registration for the 2022
        general election?

   The EAC is mandated by the National Voter Registration Act (NVRA) to collect information from
   states concerning the impact of that statute on the administration of federal elections. With this
   information, the EAC is required to make a report to Congress and provide recommendations for
   the improvement of federal and state procedures, forms, and other NVRA matters. States that
   respond in a timely manner to all questions in this survey concerning voter registration-related
   matters will meet their NVRA reporting requirements under 52 U.S.C. §20508 and EAC

   Answer All Questions
   Please provide an answer to all of the items in Section A.

       •   If the question is not applicable to your state or jurisdiction, use the code -88 (negative
           88, or “Does not apply”) as your response.
               o   Example: If your state or jurisdiction does not categorize registered voters as
                   inactive, then enter -88 (negative 88) as the response to question A1c.
       •   If the question is applicable to your state but your jurisdiction does not have the data
           necessary to answer the question, use the code -99 (negative 99, or “Data not available”)
           as your response.
               o   Example: If your state or jurisdiction has same-day registration (SDR) but does not
                   track the number of SDRs received on Election Day separately from those
                   received before Election Day, then enter -99 (negative 99) as the response to A2b
                   and A2c.



                                       [Survey begins on next page]




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  Total Registrations: Questions A1 and A2
  Questions A1 and A2 ask about individuals who were registered and eligible to vote in the 2022
  general election. This includes all individuals who were registered to vote and who were included on
  the final voter registration rolls for the election. For states with Election Day voter registration,
  include all individuals who registered to vote through the close of the polls on Election Day.
  Please do not include:
     •   Individuals who registered to vote after the close of registration for the 2022 general election
         and who were not eligible to vote in the 2022 general election, or
     •   Persons under the age of 18 who registered under a pre-registration program.
  If your jurisdiction’s number includes any special groups or situations that we should be aware of,
  please use the A1 Comments box to explain.


  A1. Total Number of Registered and Eligible Persons, Active and Inactive
  For question A1, report the total number of people (not votes or ballots) who were registered and
  eligible to vote in the November 2022 general election. If your jurisdiction differentiates between
  active and inactive voters, report the number of active voters in A1b and inactive voters in A1c. If
  your state does not make this differentiation, report the total number of registered voters again in
  A1b and enter -88 (negative 88) as the response to A1c. The sum of active voters in A1b and inactive
  voters in A1c should equal the total number of registered voters reported in A1a.
                            Type of Registered Voter                                      Total
   A1a. TOTAL number of registered and eligible voters:
   Do not include individuals who registered after the 2022 deadline for
   registration or individuals under the age of 18 who may have registered
   under a pre-registration program.
   A1b. TOTAL number of active voters:
   Fully eligible voters who had no additional processing requirements to
   fulfill before voting.
   A1c. TOTAL number of inactive voters:
   Voters who were eligible to vote but required address verification under
   the provisions of the National Voter Registration Act (NVRA).
   A1 Comments:




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  A2. Same-Day Voter Registration
  For question A2, report the number of registration forms received from individuals who registered to
  vote on the same day that they cast a ballot in person—also known as same-day registration (SDR) or
  Election Day registration (EDR)—for the 2022 general election. This includes jurisdictions in states
  that have a formal policy allowing for SDR or EDR, jurisdictions whose registration period overlaps
  with early voting, and jurisdictions that permit SDR or EDR only in special circumstances (e.g., for
  federal offices only or for individuals who moved between states after a registration deadline in a
  presidential election year). A period of overlap between the mail balloting period and the close of
  voter registration should not be considered SDR or EDR for the purposes of this question.
  Note that this question is about registration forms and not ballots cast or votes. Both new
  registrations and registration updates that were collected through SDR and EDR should be reported
  in this question.
  If your state’s laws allowed any voters to register and then vote on the same day, report the total
  number of registration forms received on those days that it was possible to both register for and vote
  in the November 2022 general election on the same day in A2a. For questions A2b and A2c,
  separate the total number of SDRs reported in A2a into those received on Election Day and those
  received before Election Day. These amounts should sum to the total provided in A2a. If you are
  unable to distinguish between these categories or are unable to provide this breakdown, complete
  A2a and enter -99 (negative 99, or “Data not available”) for A2b–A2c. If data are reported in A2b and
  A2c, the sum of the two items should equal the total number of SDRs reported in A2a.


                          Type of Same-Day Registration                                    Total
   A2a. TOTAL same-day registrations received
   A2b. Same-day registrations received on Election Day
   A2c. Same-day registrations received before Election Day (e.g., during
   early voting)
   A2 Comments:




  Registration Forms Processed: Questions A3–A7
  These questions ask about the number of registration forms processed in your jurisdiction from the
  close of registration for the November 2020 general election through the close of registration for the
  November 2022 general election. For example, a state with a voter registration deadline of 15 days
  before Election Day should include all forms received 14 days before the 2020 Election Day through
  15 days before the 2022 Election Day. In states with SDR or Election Day registration, all
  registrations received after the close of the polls on Election Day in 2020 until the close of the polls
  on Election Day 2022 should be included in your answers.




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  A3. Total Registration Forms Processed: 2020 to 2022
  For question A3a, report the total number of forms your jurisdiction received from all sources
  between the close of registration for the November 2020 general election until the close of
  registration for the November 2022 general election. Include any forms that were processed, such
  as duplicates, pre-registrations, or changes to name, political party, or address. If applicable, also
  include any SDRs or EDRs and any registrations from special categories of voters who may have had
  an extended voter registration deadline, such as returning military personnel. Then, divide the total
  number of forms received (A3a) into the categories listed in A3b through A3g. Use items A3h–A3j for
  any registration forms that cannot be placed into any of the categories specified in A3b through A3g.
  SDRs, EDRs, and special category voter registrations should be included in the appropriate category
  (e.g., new valid registration or change of name).

                       Type of Registration Form Received                                 Total
   A3a. TOTAL registration forms received:
   All registration forms received between the close of registration for the
   November 2020 general election and the close of registration for the
   November 2022 general election.
   A3b. New valid registrations (excluding pre-registrations of persons under
   the age of 18):
   All successful registrations that were not invalidated or rejected and did
   not duplicate or modify a previously existing registration in the jurisdiction.
   A3c. New pre-registrations of persons under the age of 18:
   All registrations submitted by persons under the age of 18 so that they will
   be registered when they become of voting age.
   A3d. Duplicates of existing valid registrations:
   Voter registration applications submitted by persons already registered to
   vote at the same address, under the same name and personal information
   (e.g., date of birth, social security number, driver’s license), and with the
   same political party (where applicable).
   A3e. Invalid or rejected registrations (other than duplicates):
   Registrations that did not meet the requirements of eligibility because they
   were not completed properly, or the individual was excluded from being
   able to register in a jurisdiction.
   A3f. Changes to name, political party, or within-jurisdiction address
   change:
   Registrations that modified or edited voter information for individuals with
   current valid registrations.
   A3g. Address changes that crossed jurisdiction border:
   Registrations that modified or edited the address of persons with current
   valid registrations, for which the address change placed them in a
   different jurisdiction (such as a different county) from their current
   registration.


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                        Type of Registration Form Received                                   Total
   A3h. Other:
   A3i. Other:
   A3j. Other:
   A3 Comments:


  A4–A7. Total Registration Forms Processed by Source
  For question A4, divide the total number of voter registration forms reported in question A3a into the
  listed sources through which the form was received. Then, for each source, divide the forms into the
  categories of new registrations (A5), duplicates of an existing registration (A6), and invalid or rejected
  registrations (A7).
  Questions A6 and A7 are mutually exclusive—duplicate registrations included in A6 should not be
  included as invalid or rejected registrations in A7 and vice versa.
  For subitems a–l, it is important to focus on the mode used to submit the registration application.
  These modes are intended to be mutually exclusive. For example, if the voter submits a registration
  form online using the state’s online voter registration portal, this is an online voter registration and
  the total number received from this mode should be entered in A4c. This would be considered an
  online voter registration even if the voter accessed the online voter registration system at a state
  public assistance office or at the office of an agency that primarily serves individuals with disabilities.
  In addition, it does not matter which agency hosts the voter registration system. For example, if your
  state motor vehicle office hosts the online voter registration system, then an application through the
  system is still considered an online voter registration application, not an application from the motor
  vehicle office.
  For A4c—A7c (registrations submitted online), only include registration forms that were completed
  and submitted through a web-based online voter registration system. A form that was filled out
  online but submitted via email or printed and submitted via mail should be included under A4a, A5a,
  A6a, or A7a, “Individual voters submitting applications by mail, fax, or email.”
  SDRs should be categorized according to the mode used to submit the registration application. For
  example, if a voter submits an SDR form at an election/registrar’s office, it would be considered an
  individual voter registering in person at the election/registrar’s office and should be entered in A4b.
  If a voter submits an SDR form at a polling place, it would be considered a separate category and
  should be entered under “Other” in either A4j, A4k, or A4l.


                                               [See next page]




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A4a through A4l: Divide the total number of all registration forms received (as reported in A3a) into the following sources.
A5a through A5l: Divide the total number of new registration forms received (as reported in A3b) into the following sources.
A6a through A6l: Divide the total number of duplicate registration forms received (as reported in A3d) into the following sources.
A7a through A7l: Divide the total number of invalid or rejected registration forms (as reported in A3e) received into the following sources.
                                              A4. Total forms           A5. New registrations    A6. Duplicates of         A7. Invalid or rejected
                                              received                                           existing registrations    registrations
                                                         A3a                      A3b                       A3d                       A3e
 TOTAL
 a. Individual voters who submitted
    applications by mail, fax, or email
 b. Individual voters who registered in
    person at the election/registrar’s office
 c. Individual voters who submitted their
    forms via a web-based online
    registration system
 d. Motor vehicles offices or other offices
    that issue driver’s licenses (this would
    include automatic registration)
 e. Public assistance offices mandated as
    registration sites under NVRA
 f.   State-funded agencies primarily
      serving persons with disabilities
 g. Armed forces recruitment offices
 h. Other agencies designated by the state
    not mandated by NVRA
 i.   Registration drives from advocacy
      groups or political parties
 j.   Other:
 k. Other:
 l.   Other:
 A4–A7 Comments:



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  Confirmation of Registration Notices and Removals: Questions A8 and A9
  These questions ask about the total number of confirmation notices sent to voters. A confirmation
  notice is defined as a notice mailed to a voter who may no longer be eligible to vote in the jurisdiction
  in which they are currently registered. Many states send these notices under the NVRA Section 8 (d)
  (1) (B) and Section 8 (d) (2); other states may send these notices for other reasons. Although NVRA
  distinguishes between “confirmation notices” and “removal notices,” some jurisdictions refer to
  “confirmation notices” as “removal notices” or something else. All confirmation notices sent to
  voters should be reported in this section, regardless of whether they were sent specifically to comply
  with NVRA. If your state sends confirmation notices for non-NVRA reasons, describe them in the A8
  Comments box.
  A8. Total Confirmation of Registration Notices Sent to Voters
  For question A8a, report the total number of confirmation notices sent to voters in the period
  between the close of registration for the November 2020 general election and the close of
  registration for the November 2022 general election. Examples of situations in which confirmation
  notices may be sent include an indication that the registrant no longer resides in the registrar’s
  jurisdiction, or the voter has not voted or appeared to vote in a federal election during the period.
  Next, for questions A8b–A8e, divide the total number of confirmation notices mailed (as reported in
  A8a) into the listed categories. Use items A8f–A8h for notices that cannot be placed into any of the
  categories specified in A8b–A8e. The amounts in A8b–A8h should sum to the total provided in A8a.




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                          Type of Confirmation Notice                                Total
   A8a. TOTAL number of confirmation notices sent to registered voters:
   The total number of registration confirmation notices sent to voters during
   the time period between the close of registration for the November 2020
   general election through the close of registration for the November 2022
   general election.
   A8b. Notices received back from voter confirming registration:
   The total number of notices returned that confirmed an individual was still
   eligible to vote in the jurisdiction.
   A8c. Notices received back from voter confirming registration should be
   invalidated:
   The total number of notices returned that confirmed an individual was no
   longer eligible to vote in the jurisdiction or no longer wanted to be
   registered to vote.
   A8d. Notices returned as undeliverable:
   The total number of notices returned to the election office because the
   U.S. Postal Service (USPS) could not deliver the notice to the voter.
   A8e. Unreturned confirmation notices (neither received back from voters
   nor returned as undeliverable):
   Any notice that was sent to a voter but was not received back confirming
   registration (A8b), confirming invalidation (A8c), or returned as
   undeliverable (A8d).
   A8f. Other:
   A8g. Other:
   A8h. Other:
   A8 Comments:




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  A9. Total Voters Removed From the Registration Rolls: 2020 to 2022
  For question A9a, report the total number of voters removed from the voter registration rolls in your
  jurisdiction in the period between the close of registration for the November 2020 general election
  and the close of registration for the November 2022 general election. Note that this question asks
  for those removed from the list of registered voters, not those moved to an “inactive” registration
  status.
  Next, for questions A9b–A9g, divide the total number of voters removed from the voter registration
  rolls (as reported in A9a) into the listed categories. Use items A9h–A9j for removals that cannot be
  placed into any of the categories specified in A9b–A9g. The amounts in A9b–A9j should sum to the
  total provided in A9a.
                              Reason for Removal                                          Total
   A9a. TOTAL number of voters removed from the voter registration rolls:
   Include only individuals who were completely removed from the list of
   registered voters, not records that were moved to an inactive list.
   A9b. Moved outside of jurisdiction
   A9c. Death
   A9d. Disqualifying felony conviction
   A9e. Failure to respond to confirmation notice sent and failure to vote in
   the two most recent federal elections
   A9f. Voter declared mentally incompetent
   A9g. Voter requested to be removed for reasons other than those listed
   above
   A9h. Other:
   A9i. Other:
   A9j. Other:
   A9 Comments:




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     Section B: Uniformed and Overseas Citizens Absentee Voting Act (UOCAVA)
  The goal of Section B is to understand the voters covered under the Uniformed and Overseas
  Citizens Absentee Voting Act (UOCAVA) in your jurisdiction. The questions in this section of the survey
  reflect the need to fully understand the UOCAVA voting process, which serves an important
  population segment of the American electorate. This section of the EAVS asks for five types of data:
     1. How many individuals were registered and eligible to vote in 2022 as a UOCAVA voter?
     2. How many Federal Post Card Applications (FPCA) were received by the election office, how
        many were accepted, and how many were rejected?
     3. How many ballots were transmitted to and returned by UOCAVA voters?
     4. How many ballots returned by UOCAVA voters were counted and how many were rejected?
     5. How many Federal Write-In Absentee Ballots (FWAB) were received and how many were
        rejected or accepted?

  Types of UOCAVA Voters
  UOCAVA serves several populations of U.S. citizens. Below are the UOCAVA voter categories that are
  listed on the FPCA and how they correspond to the voter-type categories that are in this section of
  the survey:
      Uniformed Services voters—domestic or           I am a member of the Uniformed Services or
      foreign                                         Merchant Marine on active duty.
                                                          OR
                                                      I am an eligible spouse or dependent of a
                                                      member of the Uniformed Services.
      Non-military/civilian overseas voter            I am a U.S. citizen residing outside of the United
                                                      States, and I intend to return.
                                                      I am a U.S. citizen residing outside of the United
                                                      States, and my return is not certain.
                                                      I am a U.S. citizen and have never resided in
                                                      the United States.


  It is very important to remember that the spouse or dependents of a Uniformed Services member or
  member of the Merchant Marine is also considered a Uniformed Services voter under UOCAVA.
  Military spouses and dependents should be categorized as Uniformed Services voters, not as civilian
  overseas voters or “Other.”
  There is a federal definition of UOCAVA, and an individual who registers and requests an absentee
  ballot using an FPCA is covered by UOCAVA. However, your state may cover additional individuals
  under UOCAVA; for example, a National Guard member activated on state orders is often considered
  a UOCAVA voter under state law. Your state may also allow people to request UOCAVA status using a
  state form or another mechanism. For most of Section B, use your state’s definition of UOCAVA to




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  answer the questions. For the questions that specifically ask about FPCAs, only report data on those
  voters covered by UOCAVA who submitted an FPCA.

   For 2022, Section B includes the Federal Voting Assistance Program (FVAP) Post-Election Voting
   Survey of Local Election Officials. In 2014, the EAC incorporated these questions for states that
   report UOCAVA voting information as required by 42 U.S.C. §1973ff-1. States that complete and
   timely submit this section to the EAC will fulfill their UOCAVA reporting requirement under 42
   U.S.C §1973ff-1(c).
   Pursuant to UOCAVA, this section collects various data elements needed to determine (1) the
   combined number of absentee ballots transmitted to UOCAVA voters; (2) the combined number of
   ballots returned by UOCAVA voters; and (3) the combined number of returned ballots cast by
   UOCAVA voters (the number of cast ballots is practically determined by collecting data concerning
   the total votes counted and rejected).

  Types of UOCAVA Absentee Ballots
  Section B asks about two types of absentee ballots:
  Transmitted ballots: These are ballots that your office sent to voters, including ballots sent via postal
  mail, email, fax, or other modes.
  Federal Write-In Absentee Ballots (FWAB): These are ballots that originated from UOCAVA voters who
  did not receive their requested or transmitted absentee ballots in time. On the FWAB, the voter lists
  each office and the name or the candidate or party for whom the voter is casting a vote. FWABs
  should not be reported with transmitted UOCAVA absentee ballots; they are instead reported in
  questions B23–B27. If your state or jurisdiction cannot separate FWABs from regular UOCAVA
  ballots, this should be noted in the comment boxes for questions B5–B22.

   Answer All Questions
   Please provide an answer to all of the items in Section B.

       •   If the question is not applicable to your state or jurisdiction, use the code -88 (negative
           88, or “Does not apply”) as your response.
               o   Example: If your state does not transmit UOCAVA absentee ballots by email, then
                   enter -88 as the response to questions B7a–B7c.
       •   If the question is applicable to your state but your jurisdiction does not have the data
           necessary to answer the question, use the code -99 (negative 99, or “Data not available”)
           as your response.
               o   Example: If your state rejects UOCAVA ballots that do not have a postmark but
                   does not track data on the number of ballots that were rejected for that reason,
                   then enter -99 as the response to questions B21a–B21c.




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  Registered and Eligible UOCAVA Voters: Question B1
  This question asks about the number of registered voters covered under UOCAVA for the 2022
  general election.
  States may differ in how they grant UOCAVA status to voters, so please apply the guidelines your
  state follows.
     •   For some states, this may be the total number of voters who registered and requested a
         ballot using an FPCA for the November 2022 general election.
     •   For other states, this number might also include voters who did not register using an FPCA
         but identified themselves as a UOCAVA voter at some point during the voting process, such
         as on a state voter registration form or by having a non-U.S. mailing address.
  In states where a person’s FPCA remains valid across elections without requiring a new FPCA or
  other notification to be provided, include all UOCAVA voters who returned an FPCA in 2022 or who
  continued to have UOCAVA status from a previous request.
  B1. Total Registered and Eligible UOCAVA Voters
  For question B1a, report the total number of registered and eligible voters in your jurisdiction who
  were covered by UOCAVA in the November 2022 general election.
  For questions B1b and B1c, separate the number of registered and eligible voters reported in B1a
  into the categories of Uniformed Services voters and non-military/civilian overseas voters. These
  amounts should sum to the total provided in B1a. If you are unable to distinguish between different
  UOCAVA voter types, complete B1a and enter -99 (negative 99, or “Data not available”) for B1b–B1c.
  Provide any comments about the nuances of how your jurisdiction categorizes registered UOCAVA
  voters in the B1 Comments box.
                           Category of UOCAVA Voters                                      Total
   B1a. TOTAL registered and eligible UOCAVA voters:
   Report the total number of registered and eligible voters covered under
   UOCAVA for the November 2022 general election. Include active and
   inactive voters and any persons who might have registered as UOCAVA
   before or on Election Day.
   If the total number of registered and eligible voters who were covered by
   UOCAVA in the November 2022 general election in your jurisdiction is
   zero, report “0” for B1a.
   B1b. Total registered and eligible Uniformed Services voters (members of
   the Uniformed Services and their eligible dependents)—domestic or
   foreign
   B1c. Total registered and eligible non-military/civilian overseas voters


   B1 Comments:




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  FPCAs Received, Accepted, and Rejected: Questions B2–B4
  These questions ask about Federal Post Card Applications (FPCA), which are federal forms that
  states are required to process for voters covered by UOCAVA. For this question, focus on the total
  number of UOCAVA-registered voters provided in B1a and identify how many voters used an FPCA to
  register and request an absentee ballot.
  B2. Federal Post Card Applications Received
  For B2a, report the total number of FPCAs received from UOCAVA voters for the November 2022
  general election.
  Next, for questions B2a–B2c, separate the total number of FPCAs received from UOCAVA voters into
  the categories of Uniformed Services voters and non-military/civilian voters. These amounts should
  sum to the total provided in B2a.


                    FPCAs Received From UOCAVA Voters                                 Total
   B2a. TOTAL Federal Post Card Applications (FPCA) from UOCAVA voters:
   Include any ballot request for the November 2022 general election that
   originated from an FPCA, regardless of the year of submission. Only
   include FPCA requests; do not include absentee ballot requests that
   originated from a state absentee voter registration form or other source.
   B2b. TOTAL FPCA from Uniformed Services voters (members of the
   Uniformed Services and their eligible dependents)—domestic or foreign
   B2c. TOTAL FPCA from non-military/civilian overseas voters

   B2 Comments:




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  B3. Federal Post Card Applications Rejected
  For question B3a, report the total number of FPCAs rejected from UOCAVA voters. Rejected FPCAs
  should include any forms that did not meet full eligibility requirements for triggering the transmission
  of a blank UOCAVA ballot. Reasons for rejection might include missing information, lack of a
  signature, a missed deadline, or overall ineligibility.
  For questions B3b–B3c, divide the total number of FPCAs rejected into the categories of Uniformed
  Services voters and non-military/civilian voters. These amounts should sum to the total provided in
  B3a.


                                     FPCAs rejected                                            Total
   B3a. TOTAL rejected Federal Post Card Applications (FPCA) from all UOCAVA
   voters:
   Include any rejected FPCA for the November 2022 general election, regardless
   of the year of submission. Only include FPCA requests; do not include absentee
   ballot requests that originated from a state absentee voter registration form or
   other source.
   B3b. Rejected FPCAs received from Uniformed Services voters (members of the
   Uniformed Services and their eligible dependents)—domestic or foreign
   B3c. Rejected FPCAs received from non-military/civilian overseas voters

   B3 Comments:



  B4. Federal Post Card Applications Rejected Because They Were Received Late
  For question B4, report how many of the FPCAs rejected for the 2022 general election (as reported
  in B3a) were rejected because they were received late. FPCAs might be considered late if they were
  received back after the deadline or if they failed to meet the deadline for receiving any ballot for the
  2022 general election. Here, “deadline” refers to the last day a UOCAVA voter could request to
  receive an absentee ballot using an FPCA.
                                 Reason for FPCA Rejection                                       Total
   B4a. TOTAL FPCAs rejected because they were received late:
   Of the total number of FPCAs that were rejected (as reported in B3a), how many
   were rejected because the election office received them after the absentee ballot
   request deadline?”
   B4 Comments:




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  UOCAVA Ballots Transmitted: Questions B5–B8
  A transmitted ballot is any blank ballot that your office sent to a UOCAVA voter, including ballots sent
  to voters via postal mail, email, fax, or other modes. Do not include FWABs or other ballots not
  transmitted from the election office to the voter.
  B5–B8. UOCAVA Ballots Transmitted to Voters: Postal Mail, Email, Other
  For B5a, report the total number of blank absentee ballots transmitted (sent by your office) to
  UOCAVA voters for the November 2022 general election, and then divide the total number of
  transmitted UOCAVA ballots that were reported in B5a into Uniformed Services (B5b) and non-
  military/civilian overseas voters (B5c). All transmitted UOCAVA ballots, including duplicate
  transmissions, should be reported in these questions. If the total number of UOCAVA ballots
  transmitted is zero, report “0” for B5a and skip to question B23. FWABs should not be included in
  these questions; you will report data on FWABs starting with question B23.
  For questions B6, B7, and B8, report how many blank UOCAVA absentee ballots your jurisdiction
  transmitted to UOCAVA voters via postal mail (B6), email (B7), and other modes, such as fax or
  online ballot delivery portals (B8). These questions refer to the way ballots were sent to voters, not
  the way ballots were requested or returned. The amounts reported in B6a, B7a, and B8a should sum
  to what was reported in B5a (this also applies to the b and c subitems in these questions). In
  addition, the amounts reported in B5b and B5c should sum to what was reported in B5a (this also
  applies to questions B6–B8).
                                                             Type of UOCAVA Voter
                                                        b. Uniformed Services
                                                         voters (members of
                                                             the Uniformed        c. Non-military/civilian
                                          a. Total
                                                          Services and their          overseas voters
                                                        eligible dependents)—
                                                         domestic or foreign
   B5. TOTAL absentee ballots
   transmitted to UOCAVA voters:
   Do not include FWABs in this
   number.
   B6. Postal mail:
   Report the total number of
   absentee ballots transmitted by
   postal mail, using USPS or any
   private courier shipping services
   (e.g., FedEx, UPS, DHL).
   B7. Email:
   Report the total number of
   absentee ballots transmitted via
   email attachment from your
   office to voters.




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                                                            Type of UOCAVA Voter
                                                       b. Uniformed Services
                                                        voters (members of
                                                            the Uniformed        c. Non-military/civilian
                                          a. Total
                                                         Services and their          overseas voters
                                                       eligible dependents)—
                                                        domestic or foreign
   B8. Other mode:
   Report the total number of
   absentee ballots transmitted by
   other methods such as fax or
   online ballot delivery portals.
   B5–B8 Comments:




  UOCAVA Ballots Returned: Questions B9–B13
  B9–B12. Transmitted Ballots Returned by Voters: Postal Mail, Email, Other
  For these questions, report how many UOCAVA absentee ballots were returned for the November 2022
  general election. For question B9, please report the total number of ballots that were returned by
  voters for the 2022 general election out of all UOCAVA ballots transmitted to voters (as reported in
  B5a). FWABs should not be included in these questions; you will report data on FWABs starting with
  question B23.
  Returned ballots include all ballots returned by the voter to the election office, regardless of whether
  or not those ballots were ultimately counted. Duplicate ballot returns should be included in these
  questions; if your state cannot track duplicate ballot returns, please note this in B9–B12 Comments.
  Next, for questions B10–B12, divide the total number of UOCAVA absentee ballots received by the
  election office (as reported in B9) into the categories of types of voters and modes of transmission.
  These amounts should sum to the total provided in B9.




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                                                      Type of UOCAVA Voter
                                                  b. Uniformed Services
                                                   voters (members of
                                                       the Uniformed      c. Non-military/civilian
                                       a. Total
                                                    Services and their        overseas voters
                                                  eligible dependents)—
                                                   domestic or foreign
   B9. TOTAL absentee ballots
   returned:
   Of all the UOCAVA ballots
   transmitted to voters as
   reported in B5a, report the total
   number of ballots that were
   returned by voters to your office
   for the 2022 general election.
   Do not include FWABs in this
   number.
   B10. Postal mail:
   Of all the UOCAVA ballots
   returned (B9a), report the total
   number of ballots that were
   returned by postal mail. This
   includes all ballots that your
   office received via the USPS or
   private courier shipping services
   (e.g., FedEx, UPS, DHL).
   B11. Email:
   Of all the UOCAVA ballots
   returned (B9a), report the total
   number that were returned by
   email. This includes all ballots
   that you received via email
   attachment from a voter.
   B12. Other mode:
   Of all the UOCAVA ballots
   returned (B9a), report the total
   number that were returned
   through other methods. This
   includes ballots received
   through all other modes, such
   as, fax or online systems.
   B9–B12 Comments:




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  B13: Ballots Returned Undeliverable
  For question B13, please report the total number of blank ballots transmitted to voters (as reported
  in B5a) that were returned as undeliverable, in total and by mode of transmission. This includes
  ballots returned by postal mail as undeliverable (B13b), ballots for which the email to the voter
  bounced back and could not be used (B13c), and ballots that were undeliverable by other modes,
  such as a bad fax number (B13d).
                                                              Mode of Transmission
                                            a. Total      b. Postal mail     c. Email      d. Other mode
                                                          undeliverable    undeliverable   undeliverable
   B13. TOTAL ballots returned
   undeliverable:
   Ballots that were returned,
   regardless of the mode by which
   they were transmitted, and could
   not be delivered to the voter.
   B13 Comments:




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  UOCAVA Ballots Counted: Questions B14–B17
  B14–B17. Transmitted Ballots Counted: Postal Mail, Email, Other
  For these questions, report how many returned UOCAVA absentee ballots were counted for the
  November 2022 general election. For question B14, out of all the UOCAVA ballots returned by voters
  (as reported in B9a), report the total number of ballots that were counted by your office for the 2022
  general election. FWABs should not be included in these questions; you will report data on FWABs
  starting with question B23.
  Next, for questions B15–B17, divide the total number of UOCAVA absentee ballots counted (as
  reported in B14a) into the categories of types of voters and modes of transmission.
                                                                        Type of UOCAVA Voter
                                                                            b. Uniformed
                                                                           Services voters
                                                                            (members of
                                                                           the Uniformed            c. Non-
                                                           a. Total         Services and       military/civilian
                                                                            their eligible     overseas voters
                                                                           dependents)—
                                                                             domestic or
                                                                               foreign
   B14. TOTAL:
   Of all the UOCAVA ballots returned by voters as
   reported in B9a, report the total number of ballots
   that were counted by your office for the 2022
   general election. Do not include FWABs in this
   number.
   B15. Postal mail:
   Report the total number of UOCAVA ballots returned
   by postal mail that were counted by your office for
   the 2022 general election. This includes all ballots
   that your office received via the USPS or private
   courier shipping services (e.g., FedEx, UPS, BHL).
   B16. Email:
   Report the total number of UOCAVA ballots returned
   by email that were counted by your office for the
   2022 general election. This includes all ballots that
   you received via email attachment from a voter.
   B17. Other mode:
   Report the total number of UOCAVA ballots returned
   through other methods that were counted by your
   office for the 2022 general election. This includes
   ballots received through all other modes, such as,
   fax or online systems.
   B14–B17 Comments:




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  UOCAVA Ballots Rejected: Questions B18–B22
  B18–B22. Total Number of UOCAVA Ballots Rejected and Reasons for Rejection
  For questions B18a–B18c, report the total number of transmitted UOCAVA ballots that were returned
  by voters and were rejected. FWABs should not be included in these questions; you will report data on
  FWABs starting with question B23.
  For questions B19–B22, divide the total number of rejections by the reason the ballot was rejected
  and the type of voter. For example, for question B20, report the total number of ballots that were
  rejected because of a signature problem (B20a) and then divide that total by ballots returned by
  Uniformed Services voters (B20b) and by non-military/civilian overseas voters (B20c).
                                                                       Type of UOCAVA Voter
                                                                           b. Uniformed
                                                                          Services voters
                                                                           (members of
                                                                          the Uniformed            c. Non-
                                                          a. Total         Services and       military/civilian
                                                                           their eligible     overseas voters
                                                                          dependents)—
                                                                            domestic or
                                                                              foreign
   B18. TOTAL ballots rejected:
   Rejected ballots include any ballot that was not
   counted, regardless of the reason why the ballot
   was rejected. Do not include FWABs in this number.
   B19. Ballots not received on time/missed deadline:
   Ballots that were not counted because they were
   received after the deadline for a ballot to be
   received for counting.
   B20. Problem with voter signature:
   Ballots that were not counted because of an issue
   relating to the voter signature, including but not
   limited to a missing signature or a returned ballot
   signature that did not match the signature on file.
   B21. Ballots lacking a postmark:
   Ballots that were not counted because they lacked
   the postmark required by your state or jurisdiction,
   despite being received before the deadline for
   being included for counting. Report -88 (“Does not
   apply”) if your state does not reject UOCAVA ballots
   for lacking a postmark.
   B22. Other:
   B18–B22 Comments:




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  Federal Write-In Absentee Ballots: Questions B23–B27
  B23–B27. Federal Write-In Absentee Ballots Received, Counted, and Rejected
  For questions B23–B27, report the total number of Federal Write-In Absentee Ballots (FWAB)
  received, counted, and rejected from UOCAVA voters for the following types of UOCAVA voters.
                                                                 Type of UOCAVA Voter
                                                                     b. Uniformed
                                                                        Services
                                                                          voters
                                                                     (members of           c. Non-
                                                      a. TOTAL
                                                                    the Uniformed     military/civilian
                                                     number of
                                                                     Services and        overseas
                                                       FWABs
                                                                     their eligible        voters
                                                                    dependents)—
                                                                      domestic or
                                                                         foreign
   B23. TOTAL number of FWABs returned by
   UOCAVA voters
   B24. TOTAL number of FWABs counted
   B25. Total number of FWABs rejected because
   they were received after the ballot receipt
   deadline:
   Of the total number of FWABs received and
   rejected, report the number of FWABs that
   were rejected or not counted because they
   were received after the state’s deadline for
   receiving and accepting FWABs.
   B26. Total number of FWABs rejected because
   the voter’s regular absentee ballot was
   received and counted:
   Of the total number of FWABs received and
   rejected, report the number of FWABs that
   were rejected or not counted because the
   voter also returned an absentee ballot that you
   had transmitted to the voter.
   B27. Total number of FWABs rejected for other
   reasons (please describe):
   B23–B27 Comments:




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                                        Section C: Mail Voting
  Section C asks about mail voting, in which a ballot is mailed to a voter (or, in some cases, issued
  over the counter at an election office or made available to the voter via a web portal or by fax) and
  the voter marks the ballot and returns it by mail, in a drop box, or in person at a polling place or
  election office. For purposes of the EAVS, “mail voting” is synonymous with “absentee voting.” The
  EAVS no longer uses the term “absentee voting” in recognition of the fact that a majority of states no
  longer require a voter to be absent from their voting location in order to cast a ballot by mail.
  This section of the EAVS asks for six types of data:
      1. How many mail ballots were transmitted to voters in the 2022 general election?
      2. How many mail ballots were transmitted to permanent mail voters in the 2022 general
         election?
      3. How many mail-ballot drop boxes were used in the 2022 general election, and how many
         mail ballots were returned via these drop boxes?
      4. How many mail ballots were successfully cured by voters for the 2022 general election?
      5. How many mail ballots were accepted and how many mail ballots were rejected in the 2022
         general election?
      6. For what reasons were mail ballots rejected in the 2022 general election?
  When reporting data on mail voting, include duplicate ballot transmissions (such as when a voter
  misplaces their mail ballot and requests a replacement) and duplicate ballot returns (such as when a
  voter submits multiple mail ballots, even though only one ballot is ultimately counted). If your state
  cannot track duplicate ballot transmissions or returns, note that information in the survey
  comments.

   When responding to questions in Section C, do not include any individuals who voted using any
   form of in-person voting, including in-person absentee voting. For the purpose of the EAVS, in-
   person absentee voters are considered early voters. In addition, do not include any individuals
   who voted using a UOCAVA absentee ballot or FWAB. Information on these voters is reported in
   Section B.

   Answer All Questions
   Please provide an answer to all of the items in Section C.

       •   If the question is not applicable to your state or jurisdiction, use the code -88 (negative
           88, or “Does not apply”) as your response.
               o   Example: If your state does not have permanent mail voters, then enter -88 as the
                   response to question C2a.
       •   If the question is applicable to your state but your jurisdiction does not have the data
           necessary to answer the question, use the code -99 (negative 99, or “Data not available”)
           as your response.
               o   Example: If your state rejects mail ballots for not having a witness signature but
                   does not track data on the number of mail ballots that were rejected for that
                   reason, then enter -99 as the response to question C9d.



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  Transmitted Mail Ballots: Questions C1–C2
  Transmitted mail ballots are mail ballots that your office sent to voters, including ballots sent to
  voters via postal mail, email, fax, or other modes. Do not include ballots mailed to UOCAVA voters.
  C1. Total Mail Ballots Transmitted
  For question C1, report the total number of mail ballots transmitted to voters for the November 2022
  general election. Include all mail ballots transmitted for this election, including duplicate
  transmissions. Next, divide the total number of mail ballots transmitted to voters (as reported in C1a)
  into the categories listed in C1b through C1f. Use C1g–C1i for any mail ballots that do not fit into the
  categories listed. The numbers entered in C1b through C1i should sum to the total provided in C1a.
                              Category of Mail Ballots                                     Total
   C1a. TOTAL mail ballots transmitted:
   This number should include all mail ballots transmitted for the 2022
   general election, including spoiled or replaced ballots or duplicate
   transmissions. Do not include individuals who cast UOCAVA absentee
   ballots or individuals who used any form of in-person voting.
   C1b. Returned by voters:
   Include ballots both counted and rejected and mail ballots that went
   through the curing process (if applicable in your state).
   C1c. Returned as undeliverable:
   Report the total number of transmitted ballots returned to your office as
   undeliverable.
   C1d. Surrendered, spoiled, or replaced ballots (also referred to as
   “voided” ballots):
   Include mail ballots that voters surrendered at a polling place in order to
   vote in person, mail ballots that were incorrectly marked or impaired in
   some way, and mail ballots that were replaced with another ballot.
   C1e. Mail voters who voted in person with a provisional ballot:
   Include mail ballots from voters who attempted to vote in person but did
   not have their mail ballot to surrender at the polls and who were given a
   provisional ballot.
   If your state cannot distinguish these ballots from spoiled mail ballots in
   C1d, please note this in the C1 Comments box.
   C1f. Unreturned mail ballots (neither returned undeliverable, nor returned
   from the voter, nor replaced by another ballot):
   Report the number of transmitted mail ballots that were not returned by
   voters or were not spoiled, returned undeliverable, or surrendered so the
   voter could vote in person.




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                             Category of Mail Ballots                                       Total
   C1g. Other:
   C1h. Other:
   C1i. Other:
   C1 Comments:




  C2. Ballots Sent to Permanent Mail Voters
  For question C2a, report the total number of ballots that were transmitted to permanent mail voters
  in your jurisdiction.
  For purposes of this question, permanent mail voters are defined as voters who have applied to be
  automatically sent a mail ballot for all elections. This should not include ballots transmitted by
  jurisdictions that conduct elections entirely by mail.

   This question applies if any voters in your jurisdiction can request to be a permanent mail voter.
   For example, in some states, if a voter is permanently ill or disabled, they can file an application
   indicating permanent illness or physical disability and receive a mail ballot for all subsequent
   elections without filing any additional mail ballot applications. In other states, any voter can apply
   for permanent mail voter status.

  If your state does not allow any voters to have permanent mail voting status, answer -88 (“Does not
  apply”) to question C2a and move to question C3.
                                                                                            Total
   C2a. TOTAL number of mail ballots transmitted to voters on a permanent
   mail ballot voter registration list
   C2 Comments:




                                     [Survey continues on next page]




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  Mail Ballots Returned by Voters: Questions C3–C9
  C3–C5. Mail Ballot Drop Boxes
  For question C3a, report the total number of drop boxes your jurisdiction used for the 2022 general
  election. In this question, each drop box should only be counted once.

   For purposes of the EAVS, a drop box is a locked container (located either indoors or outdoors)
   where voters (or voters’ authorized representatives, if allowed by your state’s law) may deliver
   their voted mail ballots for collection. Drop boxes are operated or controlled by election officials.
   Drop boxes are separate from ballot boxes that are located at in-person polling places for voters
   to place their ballots immediately after voting in person.


  In questions C4 and C5, report the number of drop boxes used during Election Day (C4) and during
  early voting (C5). If a drop box was used for both early voting and Election Day, it should be reported
  in both C4 and C5. Because of this, the sum of C4a and C5a may not equal what you reported in
  C3a.
  The total number of drop boxes used for each voting period should be reported in C4a and C5a, and
  in questions C4b–C4c and C5b–C5c, separate the totals reported in C4a and C5a into two
  categories:
      •   Drop boxes located at election offices
      •   Drop boxes located at non-election office sites
  The total of C4b and C4c should sum to the number reported in C4a, and the total of C5b and C5c
  should sum to the number reported in C5a.
                              Mail Ballot Drop Boxes                                        Total
   C3a. TOTAL number of drop boxes used for the 2022 general election:
   Each drop box should be counted only once in this question, regardless of
   the number of voting days it was used for.
   C3 Comments:




   Category of Drop Box                                     C4. Election Day        C5. Early voting
   a. TOTAL drop boxes used during the specified
   voting period
   b. Drop boxes located at election offices
   c. Drop boxes located at non-election office sites
   C4–C5 Comments:




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  C6. Total Number of Mail Ballots Returned via Drop Boxes
  For question C6a, report the total number of mail ballots that voters returned via drop boxes. Include
  mail ballots both counted and rejected.
                      Mail Ballots Returned via Drop Boxes                                  Total
   C6a. TOTAL number of mail ballots returned via drop boxes
   C6 Comments:


  C7. Mail Ballot Curing
  For question C7a, report the total number of successfully cured mail ballots in your jurisdiction for
  the 2022 general election. A cured ballot is defined as a returned mail ballot that was originally
  rejected for an error or because it was missing required information but was ultimately counted
  because the voter corrected the error or supplied the required information.
  If your state does not allow voters to cure errors or missing information on their mail ballots, report
  -88 (“Does not apply”) in C7a. If your state allows for mail ballot curing but does not track data on
  the number of mail ballots that were successfully cured, report -99 (“Data not available”) in C7a.
                                 Mail Ballot Curing                                         Total
   C7a. TOTAL number of mail ballots that were successfully cured:
   Total number of ballots that were originally rejected for errors or missing
   information but were ultimately counted because the voters corrected the
   error or supplied the required information.
   C7 Comments:




  C8. Total Number of Mail Ballots Returned and Counted
  For question C8a, report the total number of mail ballots returned by voters and counted.
                                                                                            Total
   C8a. TOTAL returned and counted:
   Mail ballots that were returned by voters, processed, counted, and
   included in the canvas of election results.
   C8 Comments:




                                      [Survey continues on next page]




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  C9. Number of Mail Ballots Rejected by Reason They Were Rejected
  For question C9a, provide the total number of mail ballots that were returned by voters and were
  rejected. Then, in questions C9b–C9q, divide the total as reported in C9a into the categories
  indicating the reason the mail ballots were rejected. Use options C9r–C9t for any ballots that cannot
  be placed in the categories given in C9b through C9q. The numbers reported in C9b through C9t
  should sum to the total number of ballots rejected in C9a.
                              Category of Mail Ballots                                     Total
   C9a. TOTAL number of mail ballots rejected

   C9b. Ballot was not received on time/missed the deadline
   C9c. Ballot did not have a voter signature
   C9d. Ballot did not have a witness signature
   C9e. Ballot had a non-matching or incomplete signature
   C9f. Ballot was returned in an unofficial envelope
   C9g. Ballot was missing from the envelope
   C9h. Ballot was not placed in a required secrecy envelope
   C9i. Multiple ballots were returned in one envelope
   C9j. Envelope was not sealed
   C9k. Returned ballot did not have required postmark
   C9l. No resident address was on the envelope
   C9m. Voter was deceased
   C9n. Voter already cast another ballot that was accepted (by mail or in
   person)
   C9o. Voter did not provide the required documentation (such as
   identification, affidavit, or statement) or documentation was incomplete
   C9p. Voter was not eligible to cast a ballot in the jurisdiction
   C9q. No ballot application on record
   C9r. Other:
   C9s. Other:
   C9t. Other:
   C9 Comments:




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                            Section D: In-Person Polling Operations
  The goal of Section D is to understand in-person polling operations in your jurisdiction.
  This section of the EAVS asks for three types of data:
      1. How many precincts did you have in your jurisdiction for the 2022 general election?
      2. How many polling places—in total and for Election Day voting and in-person early voting—did
         your jurisdiction have for the 2022 general election?
      3. How many poll workers—for Election Day voting and in-person early voting—did your
         jurisdiction have for the 2022 general election? What were the ages of those poll workers
         and how easy or difficult was it to recruit poll workers?

   Answer All Questions
   Please provide an answer to all of the items in Section D.

       •   If the question is not applicable to your state or jurisdiction, use the code -88 (negative
           88, or “Does not apply”) as your response.
               o   Example: If all early voting sites in your state must be located at an election office,
                   then enter -88 as the response to D4b.
       •   If the question is applicable to your state but your jurisdiction does not have the data
           necessary to answer the question, use the code -99 (negative 99, or “Data not available”)
           as your response.
               o   Example: If your state or jurisdiction does not track data on the ages of poll
                   workers, then enter -99 as the response to D7b–D7g.


  Precincts and Polling Places: Questions D1–D4
  This section asks about polling places and precincts. First, report the number of precincts, and
  second, report the number of physical polling places.
  D1. Total Number of Precincts
  For question D1a, report the total number of precincts in your jurisdiction for the November 2022
  general election. For this question, a precinct is defined as the geographic area to which voters are
  assigned. It is an administrative division of a county or municipality to which voters have been
  assigned according to their residence address for voting in an election. Your jurisdiction might use
  the terms “ward” or “voting district” to describe a voting precinct.
                               Type of Registration                                           Total
   D1a. TOTAL number of precincts in your jurisdiction for the November
   2022 general election
   D1 Comments:




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  D2–D4. Number of Physical Polling Places (Election Day and Early Voting)
  For question D2a, report the total number of physical polling places your jurisdiction used for the
  2022 general election. In this question, each polling place should only be counted once.

   Remember that in-person absentee voting is considered early voting for the purposes of the
   EAVS.


  Next, in questions D3 and D4, report the total number of physical polling places in your jurisdiction
  for Election Day voting (D3) and for early voting (D4) for the November 2022 general election. If a
  polling place was used during both early voting and Election Day voting, it should be reported in both
  D3 and D4. Because of this, the sum of D3a and D4a may not equal what you reported in D2a.
  For questions D3b–D3c and D4b–D4c, separate the number of Election Day polling locations and
  early voting polling places, respectively, into two categories:
      •   Physical polling places that are not a part of the election office (D3b and D4b); and
      •   Polling places that are a part of the election office (D3c and D4c).
  If your jurisdiction has two precincts in one location, such as a school gym, this is only one polling
  place (even if they are far apart in the gym). However, if your jurisdiction has a polling place at a
  school in the library and then has another polling place at the same school but in the gym, they
  should be considered two polling places. If your jurisdiction allows any individuals to cast a ballot in
  person at the local election office (such as through in-person absentee voting), please include these
  election offices in D3c and D4c.
                                Total Polling Places                                        Total
   D2a. TOTAL number of physical polling places used for the 2022 general
   election:
   Each polling place should be counted only once in this question,
   regardless of the number of voting days it was used for.
   D2 Comments:




   Category of Polling Place                                D3. Election Day        D4. Early voting
                                                            voting
   a. TOTAL
   b. Physical polling places other than election offices
   (e.g., libraries, schools, mobile voting location)
   c. Election offices
   D3–D4 Comments:




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  Poll Workers: Questions D5–D9
  The EAVS asks about the poll workers who served in the 2022 general election. Your jurisdiction may
  use a different term for poll workers, such as election judges, booth workers, wardens,
  commissioners, or other similar terms.

   For the EAVS, “poll worker” refers to a person who verifies the identity of voters; assists voters
   with signing the register, affidavits, or other documents required to cast a ballot; assists voters by
   providing them with a ballot or setting up the voting machine for the voters; and serves other
   functions as dictated by state law.
   The count of poll workers should not include observers stationed at the polling places, regular
   office staff who did not serve poll worker functions during the election, or temporary election staff
   not hired specifically to serve voters in either early or Election Day voting. If regular election office
   staff served as poll workers, they should be counted in these questions.



  D5–D6. Election Day and Early Voting Poll Workers
  For questions D5 and D6, report the total number of poll workers who served in your jurisdiction for
  Election Day voting and early voting for the November 2022 general election. For question D5, report
  the total number of poll workers who worked Election Day voting. For question D6, report the total
  number of poll workers who worked in-person early voting (counting each poll worker only once,
  regardless of the number of shifts they worked). If a poll worker worked as a poll worker for Election
  Day voting and as a poll worker during early voting, the poll worker should be counted both under the
  category of Election Day poll worker and the category of early voting poll worker.
                                                              D5. Election Day        D6. Early voting
                                                              voting
   a. TOTAL number of poll workers
   D5–D6 Comments:




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  D7. Total Number of Poll Workers and Ages of the Poll Workers
  In question D7a, report the total number of poll workers who assisted your jurisdiction with voting for
  the November 2022 general election. Each poll worker should be counted only once, regardless of
  the number of shifts they worked. If a poll worker assisted with both early voting and Election Day
  voting, they should be counted only once. Because of this, the sum of D5a and D6a may not equal
  what you report in D7a
  If your jurisdiction has data on the ages of its poll workers (for example, from voter registration
  records, payroll records, or poll worker applications), report the total number of poll workers in each
  age category in questions D7b–D7g. If your jurisdiction does not track data on any or all age
  categories, enter -99 (negative 99, or “Data not available”) as your response to those questions.
  However, please still provide a response in D7a for the total number of poll workers.
                                Age of Poll Workers                                         Total
   D7a. TOTAL number of poll workers:
   Each poll worker should be counted only once in this question, regardless
   of the number of shifts they worked.
   D7b. Under 18 years old
   D7c. 18 to 25
   D7d. 26 to 40
   D7e. 41 to 60
   D7f. 61 to 70
   D7g. 71 years old and over
   D7 Comments:




  D8. Ease of Recruiting Poll Workers
  How difficult or easy was it for your jurisdiction to obtain a sufficient number of poll workers for the
  November 2022 general election? Please select one option. In addition, use the D8 Comments box
  to provide further information about your experience recruiting poll workers for this election.
      o   Very difficult
      o   Somewhat difficult
      o   Neither difficult nor easy
      o   Somewhat easy
      o   Very easy
      o   Not enough information to answer
       D8 Comments:




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  D9. Number of New Poll Workers
  How many poll workers in your jurisdiction served for the first time in the November 2022 general
  election?
                               New Poll Workers                                         Total
   D9a. TOTAL number of poll workers who served for the first time in the
   2022 general election:
   Each poll worker should be counted only once in this question, regardless
   of the number of shifts they worked.
   D9 Comments:




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                                     Section E: Provisional Voting
  The goal of Section E is to understand provisional voting in your jurisdiction. This section of the EAVS
  asks for three types of data:
      1. How many individuals cast a provisional ballot in the 2022 general election, and how many
         of those ballots were counted and rejected?
      2. What were the reasons the provisional ballots were cast?
      3. What were the reasons the provisional ballots were rejected?


  Two definitions will be helpful as you answer the questions in Section E:
  Provisional voter: An individual who declares they are a registered voter in the jurisdiction where they
  desire to vote and is eligible to vote in an election for federal office, but (1) the voter’s name does
  not appear on the official list of eligible voters for the polling place, or (2) an election official asserts
  that the individual is not eligible to vote.
  Provisional ballot: A ballot used to record a vote when there is some question regarding the eligibility
  of the voter. Once voted, provisional ballots are kept separate from other ballots and are not
  tabulated until the eligibility of the voter is confirmed.

   Answer All Questions
   Please provide an answer to all of the items in Section E.

       •    If the question is not applicable to your state or jurisdiction, use the code -88 (negative
            88, or “Does not apply”) as your response.
                o   Example: If your state is NVRA-exempt and does not offer provisional ballots, then
                    enter -88 as the response to all questions in Section E.
       •    If the question is applicable to your state but your jurisdiction does not have the data
            necessary to answer the question, use the code -99 (negative 99, or “Data not available”)
            as your response.
                o   Example: If your state or jurisdiction does not track data on the reasons why
                    provisional ballots were rejected, then enter -99 as the response to E3b–E3m.




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  Provisional Ballots Cast: Questions E1–E2
  E1. Total Provisional Ballots Submitted and Their Adjudication
  For question E1a, report the total number of voters who submitted provisional ballots in the
  November 2022 general election. Next, for questions E1b–E1e, divide the total number of voters
  who submitted provisional ballots (as reported in E1a) into the listed categories.
                           Provisional Ballot Outcomes                                  Total
   E1a. TOTAL number of voters who submitted provisional ballots:
   The number of voters who submitted provisional ballots, regardless of
   whether or not the provisional ballot was ultimately counted in part or full.
   E1b. Provisional ballots that were counted in full


   E1c. Provisional ballots that were counted in part (e.g., only the items on
   the ballot for which the voter would have been eligible had they voted in
   the correct precinct)
   E1d. Provisional ballots that were rejected


   E1e. Other:


   E1 Comments:




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  E2. Reasons for Casting Provisional Ballots
  For question E2, report the total number of provisional ballots cast (as reported in E1a) according to
  the reason they were cast. The total of E2a through E2k should sum to the number you reported in
  E1a. Use items E2i through E2k to report provisional ballots that cannot be placed in any of the
  categories given in E2a through E2h.

                         Reason Provisional Ballot Was Cast                                Total
   E2a. Voter did not appear on the list of eligible voters
   E2b. Voter did not have proper identification (as defined by state law)
   E2c. Election official asserted that the voter was not eligible to vote
   E2d. Another person (not an election official) challenged the voter’s
   qualifications and poll workers were not able to resolve the challenge
   E2e. Voter was not a resident of the precinct in which they were attempting
   to vote
   E2f. Voter’s registration was not updated with their current name or address
   E2g. Voter was issued a mail ballot but did not surrender the ballot to poll
   workers when they came to vote in person
   E2h. A federal or state judge extended the polling place hours for the election
   E2i. Other:
   E2j. Other:
   E2k. Other:
   E2 Comments:




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  Provisional Ballots Rejected: Question E3
  E3. Reasons for Provisional Ballots Rejection
  For question E3a, report the total number of provisional ballots that were rejected (as reported in
  E1d). For questions E3b–E3m, divide the total number of provisional ballots that were rejected into
  the categories according to the reason the provisional ballots were rejected. The amounts should
  sum to the total provided in E3a.

  If a provisional ballot was rejected for multiple reasons, please use the primary reason the
  provisional ballot was rejected, if possible, so that reasons for rejection (E3b through E3m) equal
  E2a. If provisional ballots were classified into more than one reason for rejection, please indicate the
  number of ballots that were classified into multiple categories in E3 Comments. Use items E3k
  through E3m for rejected provisional ballots that cannot be placed in any of the categories provided
  in E3b through E3j.

                       Reason for Provisional Ballot Rejection                              Total
   E3a. TOTAL number of provisional ballots that were rejected
   E3b. Voter was not registered in the state
   E3c. Voter was registered in the state but attempted to vote in the wrong
   jurisdiction
   E3d. Voter was registered in the state but attempted to vote in the wrong
   precinct
   E3e. Voter failed to provide sufficient identification
   E3f. Envelope and/or ballot was incomplete and/or illegible
   E3g. Ballot was missing from the envelope
   E3h. Ballot did not have a signature
   E3i. Ballot had a non-matching signature
   E3j. Voter already voted
   E3k. Other:
   E3l. Other:
   E3m. Other:
   E3 Comments:




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                    Section F: Voter Participation and Election Technologies
  The goal of Section F is to understand how the voters in your jurisdiction participated in the 2022
  general election and what election technologies were used to mark and tabulate ballots.

   Answer All Questions
   Please provide an answer to all of the items in Section F.

       •    If the question is not applicable to your state or jurisdiction, use the code -88 (negative
            88, or “Does not apply”) as your response.
                o    Example: If your state is NVRA-exempt and does not offer provisional ballots, enter
                     -88 as the response to question F1e.
       •    If the question is applicable to your state but your jurisdiction does not have the data
            necessary to answer the question, use the code -99 (negative 99, or “Data not available”)
            as your response.
                o    Example: If your state uses ballot marking devices but does not track data on the
                     number of these machines that were deployed, enter -99 as the response to F7c.


  Participation in the 2022 General Election: Questions F1–F2
  Questions F1 and F2 ask about the total number of voters who cast a ballot that was counted in the
  2022 general election and the source of the reported participation data. Your responses to these
  questions should include all voters whose ballots were counted, regardless of vote mode, in the
  election. Include all voters (for example, both civilian and military voters) and all types of ballots (for
  example, in person, mail, provisional).

   Remember that in-person absentee voting is considered early voting for the purposes of the
   EAVS. All individuals who cast their ballots through early voting (as defined by your state in Q25 of
   the 2022 Policy Survey) should be reported in F1f.




                                       [Survey continues on next page]




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  F1. Total Participation in the 2022 General Election
  For question F1, please provide the total number of voters who cast a ballot that was counted in the
  2022 general election by mode of voting. Although other items in the survey have reported some of
  this data, only voters whose ballots were counted should be reported in this set of questions.

                                  Type of Participants                                     Total
   F1a. TOTAL number of voters who cast a ballot that was counted:
   All voters who voted in the 2022 general election, including all categories of
   voters listed below.
   F1b. Voters who cast a ballot at a physical polling place on Election Day and
   whose ballot was counted:
   All voters who cast a ballot in person on Election Day, not including provisional
   ballots or mail ballots dropped off at the polls.
   F1c. UOCAVA voters who cast a ballot via absentee ballot or FWAB and whose
   ballot was counted:
   All voters who are covered by the Uniformed and Overseas Citizens Absentee
   Voting Act (UOCAVA) and who used either a transmitted absentee ballot or a
   Federal Write-In Absentee Ballot (FWAB).
   F1d. Voters who cast a mail ballot and whose ballot was counted:
   All voters who voted using a mail ballot. This should not include voters whose
   jurisdictions conduct elections by mail (i.e., automatically sends mail ballots to
   every registered voter or every active registered voter); those voters are
   reported in F1g.
   F1e. Voters who cast a provisional ballot and whose ballot was counted:
   All voters who cast a provisional ballot that was counted, either partially or in
   full.
   F1f. Voters who cast a ballot at an in-person early voting location and whose
   ballot was counted:
   All voters who participated in the 2022 general election in person before
   Election Day. This includes in-person early voting or in-person absentee voting.
   F1g. Voters who cast a mail ballot in a jurisdiction that conducts elections by
   mail and whose ballot was counted:
   All voters who cast ballots in a jurisdiction that automatically sends mail ballots
   to every registered voter or every active registered voter. This should not
   include voters who used a mail ballot in jurisdictions that do not conduct
   elections by mail; those voters are reported in F1d.
   F1h. Other:
   F1 Comments:




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  F2. Source of Data for Total Participation in the 2022 General Election
  For question F2, indicate the source(s) used to compile the data for the total number of participants
  in the 2022 general election in question F1. (Select all that apply.)


     □ Poll books and number of mail and/or provisional participants: Number of voters checked off
       by poll workers or who signed poll books at physical polling places plus the number of
       UOCAVA and other mail or early voters.
     □ Number of ballots counted: Participation is based on the number of ballots counted at
       precincts and/or at a central location (including UOCAVA and other mail or early voting
       ballots).
     □ Vote history: Participation is based on the number of voters generated after the “vote history”
       has been added.
     □ Votes cast: Participation is based on the number of votes cast for the highest office on the
       ballot.
     □ Other (please specify): ___________________________________________________________
         F2 Comments:




                                    [Survey continues on next page]




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  Poll Books: Questions F3–F4
  The EAVS asks about two key election technologies. The first set of questions collects data on the
  type of poll books used in your jurisdiction’s polling places and how those poll books were used.
  F3–F4. Use of Electronic and Paper Poll Books
  For questions F3 and F4, indicate whether your jurisdiction used electronic poll books or printed,
  paper poll books in polling places in the November 2022 general election for the listed activities.
  Completely vote-by-mail jurisdictions that have no in-person voting options should answer “No” to all
  items.
  For the purposes of these questions, an electronic poll book (e-poll book) is as a type of hardware,
  software, or a combination of both that is used in the place of a traditional paper poll book that lists
  all registered voters. These are not voting machines and are not used in the process of voting.
  For each item below (a, b, c, d, and e), indicate whether your jurisdiction used electronic poll
  books/electronic lists of voters or traditional paper poll books at polling places for the following
  functions in the November 2022 general election.


           Use of Poll Books                 F3. Electronic poll books    F4. Paper poll books
           a. Sign voters in                     o   Yes                      o   Yes
                                                 o   No                       o   No
           b. Update voter history               o   Yes                      o   Yes
                                                 o   No                       o   No
           c. Look up polling places             o   Yes                      o   Yes
                                                 o   No                       o   No
           d. Assist with same-day               o   Yes                      o   Yes
           registration                          o   No                       o   No
           e. Check voter’s mail ballot          o   Yes                      o   Yes
           status                                o   No                       o   No
           f. Other:                             o   Yes                      o   Yes
                                                 o   No                       o   No
           F3–F4 Comments:




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  Voting Technologies: Questions F5–F9
  The second set of election technologies that the EAVS collects data on is the voting technology used
  to mark and tabulate ballots. Providing the best data will give the EAC the most complete picture
  possible of the voting technology your voters used to cast their ballots in the 2022 general election.
  F5–F9. Voting Equipment Used
  For questions F5–F9, report the number and type of voting equipment used for each aspect of the
  election process in the November 2022 general election. Report the following information:
     •    Equipment type—please note whether your jurisdiction uses:
              o Direct-recording electronic (DRE) equipment, not equipped with a voter-verified paper
                  audit trail (VVPAT)
              o Direct-recording electronic (DRE) equipment, equipped with a voter-verified paper
                  audit trail (VVPAT)
              o Electronic system that produces a paper record but does not tabulate votes (often
                  referred to as a “ballot marking device”)
              o Scanner (optical or digital) that tabulates paper records that voters mark by hand or
                  via a ballot marking device
              o Hand-counted paper ballots (not an optical or digital scan system)
       • Make and model of the voting equipment used (for example, the ES&S ExpressVote® or the
          Dominion ImageCast® Evolution/ICE). There is space provided to list up to three makes and
          models for each equipment type.
       • The number of these machines that were deployed to assist with voting during the November
          2022 general election. Machines that were not deployed in a polling location or used to
          tabulate ballots should not be included in these questions.
       • Equipment uses—indicate whether each type of equipment was used for:
              o In-precinct Election Day regular balloting
              o Voting for voters with a disability
              o Provisional ballot voting
              o In-person early voting
              o Mail ballot counting
  In the F5–F9 Comments box, provide any comments about the nuances of your jurisdiction’s use of
  voting equipment, or record information about additional voting equipment that was used.




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                    a. In use in your                                   c. Number
                                                                                            d. Equipment use
                       jurisdiction        b. Make/Model                 deployed
                                                                                          (Select all that apply.)

                                                                                    □ In-precinct Election Day regular
                                                                                      balloting
 F5. DRE
                       o    Yes                                                     □ Voting for voters with a
   machines
                       o    No                                                        disability
   without VVPAT
                                                                                    □ Provisional ballot voting
                                                                                    □ In-person early voting


                                                                                    □ In-precinct Election Day regular
                                                                                      balloting
 F6. DRE
                       o    Yes                                                     □ Voting for voters with a
   machines with
                       o    No                                                        disability
   VVPAT
                                                                                    □ Provisional ballot voting
                                                                                    □ In-person early voting


                                                                                    □ In-precinct Election Day regular
                                                                                      balloting
                                                                                    □ Voting for voters with a
 F7. Ballot            o    Yes                                                       disability
   marking device      o    No
                                                                                    □ Provisional ballot voting
                                                                                    □ In-person early voting
                                                                                    □ Mail ballot counting
 F8. Scanner
                                                                                    □ In-precinct Election Day regular
                                                                                      balloting
                                                                                    □ Voting for voters with a
                       o    Yes                                                       disability
                       o    No
                                                                                    □ Provisional ballot voting
                                                                                    □ In-person early voting
                                                                                    □ Mail ballot counting



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                   a. In use in your                                        c. Number
                                                                                                d. Equipment use
                      jurisdiction        b. Make/Model                      deployed
                                                                                              (Select all that apply.)
                                                                                        □ In-precinct Election Day regular
                                                                                          balloting
 F9. No                                                                                 □ Voting for voters with a
                      o     Yes                                                           disability
   equipment
                      o     No
   (hand count)                                                                         □ Provisional ballot voting
                                                                                        □ In-person early voting
                                                                                        □ Mail ballot counting
 F5–F9 Comments:




                                          [Survey continues on next page]




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  Location of Vote Tally: Question F10
  F10. Location Where Votes Were Tallied
  For each of the following uses of your jurisdiction’s voting equipment, report where the votes were
  tallied for the November 2022 general election.
                    Location of Vote Tally for:                           Please Select One
   F10a. In-precinct Election Day regular ballot voting         □   Central location
                                                                □   Precinct or polling location
                                                                □   Both central and precinct location
                                                                □   Does not apply
                                                                □   Data not available
   F10b. Voting for voters with a disability                    □   Central location
                                                                □   Precinct or polling location
                                                                □   Both central and precinct location
                                                                □   Does not apply
                                                                □   Data not available
   F10c. Provisional ballot voting                              □   Central location
                                                                □   Precinct or polling location
                                                                □   Both central and precinct location
                                                                □   Does not apply
                                                                □   Data not available
   F10d. In-person early voting                                 □   Central location
                                                                □   Precinct or polling location
                                                                □   Both central and precinct location
                                                                □   Does not apply
                                                                □   Data not available
   F10e. Mail balloting                                         □   Central location
                                                                □   Precinct or polling location
                                                                □   Both central and precinct location
                                                                □   Does not apply
                                                                □   Data not available
   F10 Comments:




                                      [Survey continues on next page]




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  F11. General Comments
  The EAC welcomes any general comments that the representatives of your jurisdiction may wish to
  share regarding the experiences in administering the November 2022 general election, such as
  problems with voting system anomalies*, recounts, staffing, challenges to eligibility, long lines, or
  noteworthy successes or challenges overcome. Use as much space as you need. Please feel free to
  attach additional pages as necessary.
  *An anomaly is as an irregular or inconsistent action or response from the voting system or system
  component, resulting in some disruption to the election process. Incidents resulting from
  administrator error or procedural deficiencies are not considered anomalies for purposes of this
  survey question (see the EAC Voting Systems Testing and Certification Program Manual).
   F11 Comments:




                                             END OF SURVEY
                             THANK YOU FOR RESPONDING TO THIS SURVEY


  This information collection is required for the U.S. Election Assistance Commission (EAC) to meet its
  statutory requirements under the Help America Vote Act (HAVA) of 2002 (52 U.S.C. 20901), the
  National Voter Registration Act (NVRA; 52 U.S.C. 20502 et seq.), and the Uniformed and Overseas
  Citizens Absentee Voters Act (UOCAVA; 52 U.S.C. 20302). Respondent’s obligation to reply to this
  information collection is mandatory as required under NVRA (52 U.S.C. 20502 et seq.) and UOCAVA
  (52 U.S.C. 20302); respondents include the 50 states, the District of Columbia, and the U.S.
  territories. This information will be made publicly available on the EAC website
  (https://www.eac.gov). According to the Paperwork Reduction Act of 1994, an agency may not
  conduct or sponsor, and a person is not required to respond to, a collection of information unless it
  displays a valid Office of Management and Budget (OMB) control number. The valid OMB control
  number for this information collection is OMB Control No. 3265-0006 (expires 04/30/2025). The
  annualized time required to complete this information collection is estimated to average 101 hours
  per state response. This estimate includes the time for reviewing the instructions, gathering
  information, and completing the form. Comments regarding this burden estimate should be sent to
  the U.S. Election Assistance Commission: 2022 Election Administration and Voting Survey, 633 3rd
  Street NW, Suite 200, Washington, DC 20001.




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